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  B1040 (FORM 1040) (12/15)

          ADVERSARY PROCEEDING COVER SHEET                                                    ADVERSARY PROCEEDING NUMBER
                                                                                              (Court Use Only)
                  (Instructions on Reverse)

PLAINTIFFS                                                                      DEFENDANTS
 Lynda T. Bui, exclusively in her capacity as the Chapter 7                       Shemuyl Leon, individually and as Trustee of THE
 Trustee of the bankruptcy estate of In re Hugo Leon                              ARYSHEM LIVING TRUST


ATTORNEYS (Firm Name, Address, and Telephone No.)                               ATTORNEYS (If Known)
Thomas J. Polis, Esq. - Polis & Associates, APLC
19800 MacArthur Blvd., Suite 1000
Irvine, CA 92612, Tel: 949.862.0040; Fax: 949.862.0041
Email: tom@polis-law.com
PARTY (Check One Box Only)                         PARTY (Check One Box Only)
Ƒ 'HEWRU    Ƒ 86 Trustee/Bankruptcy Admin        Ƒ Debtor      Ƒ U.S. Trustee/Bankruptcy Admin
Ƒ &UHGLWRU  Ƒ 2WKHU                                Ƒ Creditor    Ƒ
                                                                 X Other
Ƒ
X 7UXVWHH                                          Ƒ Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
         Avoidance of Pre-Petition Fraudulent Conveyances Pursuant to Section 544 of the Bankruptcy Code; and
         Recovery of Avoided Transfers Pursuant to Section 550 of the Bankruptcy Code



                                                                    NATURE OF SUIT

        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)

    FRBP 7001(1) – Recovery of Money/Property                                   FRBP 7001(6) – Dischargeability (continued)
Ƒ 11-Recovery of money/property - §542 turnover of property                     Ƒ 61-Dischargeability - §523(a)(5), domestic support
Ƒ 12-Recovery of money/property - §547 preference                               Ƒ 68-Dischargeability - §523(a)(6), willful and malicious injury
Ƒ 13-Recovery of money/property - §548 fraudulent transfer                      Ƒ 63-Dischargeability - §523(a)(8), student loan
Ƒx 14-Recovery of money/property - other                                        Ƒ 64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                     (other than domestic support)
    FRBP 7001(2) – Validity, Priority or Extent of Lien
Ƒ 21-Validity, priority or extent of lien or other interest in property         Ƒ 65-Dischargeability - other
                                                                                FRBP 7001(7) – Injunctive Relief

Ƒ
    FRBP 7001(3) – Approval of Sale of Property                                 Ƒ 71-Injunctive relief – imposition of stay
    31-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                Ƒ 72-Injunctive relief – other
    FRBP 7001(4) – Objection/Revocation of Discharge
Ƒ 41-Objection / revocation of discharge - §727(c),(d),(e)                      FRBP 7001(8) Subordination of Claim or Interest
                                                                                Ƒ 81-Subordination of claim or interest
    FRBP 7001(5) – Revocation of Confirmation
Ƒ 51-Revocation of confirmation                                                 FRBP 7001(9) Declaratory Judgment
                                                                                Ƒ 91-Declaratory judgment
    FRBP 7001(6) – Dischargeability
Ƒ 66-Dischargeability - §523(a)(1),(14),(14A) priority tax claims             FRBP 7001(10) Determination of Removed Action
                                                                              Ƒ
Ƒ 62-Dischargeability - §523(a)(2), false pretenses, false representation,        01-Determination of removed claim or cause

      actual fraud                                                            Other
Ƒ 67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny Ƒ SS-SIPA Case – 15 U.S.C. §§78aaa et.seq.
                   (continued next column)                                    Ƒ 02-Other (e.g. other actions that would have been brought in state court
                                                                                        if unrelated to bankruptcy case)
Ƒ Check if this case involves a substantive issue of state law                  Ƒ Check if this is asserted to be a class action under FRCP 23
Ƒ &KHFNLIDMXU\trial is demanded in complaint                                Demand $
Other Relief Sought
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 B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
  Hugo Leon                                                             6:23-bk-14843-WJ
DISTRICT IN WHICH CASE IS PENDING                                     DIVISION OFFICE                   NAME OF JUDGE
   Central District of California                                        Riverside                        Wayne Johnson
                                     RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                      DEFENDANT                                                ADVERSARY
                                                                                                        PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING                                DIVISION OFFICE                    NAME OF JUDGE

SIGNATURE OF ATTORNEY (OR PLAINTIFF)


                                      /s/ Thomas J. Polis


DATE                                                                  PRINT NAME OF ATTORNEY (OR PLAINTIFF)
   1/12/2024                                                              Thomas J. Polis




                                                         INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

          The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
 or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
 explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
 attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

 Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

 Attorneys. Give the names and addresses of the attorneys, if known.

 Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

 Demand. Enter the dollar amount being demanded in the complaint.

 Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
 plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
 attorney, the plaintiff must sign.
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 1 Thomas J. Polis, Esq. (SBN 119326)
   POLIS & ASSOCIATES, APLC
 2 19800 MacArthur Blvd., Suite 1000
   Irvine, CA 92612
 3 Tel: 949.862.0040
   Fax: 949.862.0041
 4 Email: tom@polis-law.com

 5 Proposed Counsel for Plaintiff, Lynda T. Bui, Chapter 7 Trustee,

 6

 7                         UNITED STATES BANKRUPTCY COURT

 8               CENTRAL DISTRICT OF CALIFORNIA, RIVERSIDE DIVISON
 9
     In re                                         Case No. 6:23-bk-14843-WJ
10
                                                   Chapter 7
11 Hugo Leon,
                                       Debtor,     Adv. Proc. No.: 6:24-ap-______-WJ
12

13 Lynda T. Bui, exclusively in her capacity as CHAPTER 7 TRUSTEE’S COMPLAINT
                                                RE: AVOIDANCE OF PRE-PETITION
   the Chapter 7 Trustee of the bankruptcy FRAUDULENT CONVEYANCE UNDER
14 estate of In re Hugo Leon,
                                                SECTION 544 OF THE BANKRUPTCY
15                                   Plaintiff, CODE OF AND FOR RECOVERY OF THE
                                                AVOIDED TRANSFER UNDER SECTION
16                                              550 OF THE BANKRUPTCY CODE
   v.
17 Shemuyl Leon, individually and as Trustee
                                                          [No Hearing Set]
   of THE ARYSHEM LIVING TRUST,
18

19
                                  Defendants.
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 1         Plaintiff, Lynda T. Bui, Chapter 7 Trustee, exclusively in her capacity as Chapter 7

 2   Trustee of the bankruptcy estate of In re Hugo Leon, Case No. 6:23-bk-14843-WJ (“Plaintiff”

 3   or “Trustee”) respectfully represents and alleges in her Complaint (“Complaint”) as follows:

 4                                                  I.

 5                          STATEMENT OF JURISDICTION AND VENUE

 6         1.     This Court has jurisdiction over this Adversary Proceeding (“Adversary

 7 Proceeding”) pursuant to 28 U.S.C. §§ 159 and 1334, and 11 U.S.C. § 548. This is a core

 8 proceeding under 28 U.S.C. § 157(b)(2)(F).

 9         2.     Venue for this Adversary Proceeding properly lies in this Judicial District in that

10 this civil proceeding arises under Title 11 of the United States Code as provided in 28 U.S.C. §

11 1409.

12         3.     This Adversary Proceeding arises out of and relates to the Chapter 7 bankruptcy

13 case of In re Hugo Leon, Case No. 6:23-bk-14843-WJ on the docket of this Court. The Debtor’s

14 bankruptcy case was commenced by the filing of a Voluntary Petition for Relief under Chapter

15 7 of Title 11 of the United States Bankruptcy Code on October 19, 2023. In conjunction with

16 the Debtor’s case commencement, Plaintiff Lynda T. Bui was appointed the Chapter 7 Trustee

17 to administer the Debtor’s bankruptcy case.

18         4.     Plaintiff, Lynda T. Bui, as Chapter 7 Trustee of the Debtor’s bankruptcy case, has

19 standing to prosecute this claim.

20         5.     Defendant, Shemuyl Leon, named both individually and in his capacity as Trustee

21 of THE ARYSHEM LIVING TRUST resides at 14181 Southwood Drive, Fontana, CA 92337.

22                                                 II.

23                                   STATEMENT OF STANDING

24         6.     The Plaintiff, as the Chapter 7 Trustee of this bankruptcy estate, has standing to

25 prosecute this Adversary Proceeding under 11 U.S.C. §§ 544 and 550.

26 ///

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 1                                                III.

 2                                   FACTUAL ALLEGATIONS

 3         7.     Plaintiff/Trustee is informed and believed and therefore alleges that the Debtor,

 4 Hugo Leon owned the residential real property located at 14181 Southwood Drive, Fontana, CA

 5 92337 (“Southwood Fontana Property”). A legal description to the Southwood Fontana Property

 6 is:

 7         LOT 14 OF TRACT 12356, IN THE COUNTY OF SAN BERNARDINO, STATE OF
           CALIFORNIA AS PER MAP RECORDED MAY 16, 1986 IN BOOK 189, PAGE(S) 33
 8         THROUGH 35, INCLUSIVE OF MISCELLANEOUS MAPS, IN THE OFFICE OF THE
           COUNTY RECORDER OF SAID COUNTY.
 9
           ALSO KNOWN AS: 14181 SOUTHWOOD DRIVE, FONTANA, CA 92337
10

11         A.P.N.: 0236-491-14-0-000

12
           8.     Plaintiff/Trustee is informed and believes that on or about January 3, 2020, the
13 Debtor transferred for no consideration his interest in the Southwood Fontana Property to

14 Defendant, Shemuyl Leon. Plaintiff/Trustee is further informed that the Debtor’s January 2020

15 transfer to Defendant Shemuyl Leon was a gift as recited in the January 3, 2020 Grand Deed.

16 A true and correct copy of the January 3, 2020 Gift Grant Deed between Debtor and his insider,

17 Shemuyl Leon is attached hereto as Exhibit “A.”

18         9.     Plaintiff/Trustee is informed and believes and therefore alleges that on or about
19 February 13, 2020, Defendant and Debtor’s Insider, Shemuyl Leon, transferred title of the

20 Southwood Fontana Property from himself to Defendant, THE ARYSHEM LIVING TRUST. The

21 Plaintiff/Trustee is informed and believes that the February 2020 transfer of Southwood Fontana

22 Property to Defendant, Shemuyl Leon as Trustee of THE ARYSHEM LIVING TRUST transfer

23 of the Southwood Fontana Property was also without fair consideration. A true and correct copy

24 of the February 13, 2020 Trust Transfer Deed is attached hereto as Exhibit “B.”

25         10.    Plaintiff/Trustee is informed and believes and therefore alleges that the Debtor
26 was either insolvent as a result of the January 3, 2020 Southwood Fontana Property or became

27 insolvent as a result thereof.

28


                                                                                                 3
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 1         11.    Plaintiff/Trustee is informed and believes and therefore alleges that the

 2 Southwood Fontana Property transfers (“Southwood Fontana Property Transfer”) described

 3 herein were transferred for no valid legal and/or reasonable economic consideration.

 4                                                VI.

 5                                   FIRST CLAIM FOR RELIEF

 6               AVOIDANCE OF FRAUDULENT CONVEYANCE (11 U.S.C. § 544)

 7         12.    The Plaintiff/Trustee incorporates Paragraphs 1 through 11, inclusive of this

 8 Complaint as though set forth herein.

 9         13.    The Plaintiff/Trustee is informed and believes, and thereon alleges that the

10 Debtor did not receive reasonably equivalent value for the January 2020 transfer of the

11 Southwood Fontana Property compromised of the Debtor’s interest in the Southwood Fontana

12 Property.

13         14.    The Plaintiff/Trustee is informed and believes and thereon alleges that pursuant

14 to Section 544 of the Bankruptcy Code, the Plaintiff/Trustee acquired rights of a bona fide

15 purchaser of the Property, and the Plaintiff/Trustee obtained the status of a bona fide purchaser

16 and has perfected such transfer at the time of commencement of the case.

17         15.    The Plaintiff/Trustee is informed and believes that at the time of the

18 aforementioned Southwood Fontana Property Transfer or as a result of the Southwood Fontana

19 Property Transfer, the aggregate creditor claims against the Debtor exceeded the fair market

20 value of Debtor’s assets, thereby rendering the Debtor insolvent.

21         16.    The Plaintiff/Trustee is informed and believes that the Debtor transferred the

22 Southwood Fontana Property to Defendant Shemuyl Leon, Trustee of THE ARYSHEM LIVING

23 TRUST as a result of Defendant’s control and/or superior knowledge of the Debtor’s financial

24 condition aspects with the actual intent to hinder, delay or defraud any creditor to which the

25 Debtor was indebted to, or became indebted to, on or after the Southwood Fontana Property

26 Transfer.

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 1         17.    The Plaintiff/Trustee is informed and believes the Debtor’s Southwood Fontana

 2 Property Transfer identified herein were made while the Debtor was insolvent, or was rendered

 3 insolvent as a result of the Southwood Fontana Property Transfer.

 4         18.    The Plaintiff/Trustee is informed and believes that the Debtor’s Southwood

 5 Fontana Property Transfer were fraudulent conveyance under Section 3439, et seq. of the

 6 California Civil Code.

 7                                                    V.

 8                                    SECOND CLAIM FOR RELIEF

 9                      RECOVERY OF AVOIDED TRANSFERS (11 U.S.C. § 550)

10         19.    The Plaintiff/Trustee incorporates Paragraphs 1 through 18, inclusive of this

11 Complaint as though set forth in full herein.

12         20.    Pursuant to U.S.C. § 550, the Court shall avoid any transfer:

13                § 550 Liability of transferee of avoided transfer—

14                (a)    Except as otherwise provided in this section, to the extent that a
                         transfer is avoided under section 544, 545, 547, 548, 549, 553(b),
15                       or 724(a) of this title, the trustee may recover, for the benefit of the
                         estate, the property transferred, or, if the court so orders, the value
16                       of such property, from—
17
                         (1) the initial transfer of such transfer or the entity for whose
18                           benefit such transfer was made; or

19                       (2) any immediate or mediate transferee of such initial transferee.

20
                  (b)    The trustee may not recover under section (a)(2) of this section
21                       from—
22                       (1)   a transferee that takes for value, including satisfaction or
                               securing of a present or antecedent debt, in good faith, and
23
                               without knowledge of the voidability of the transfer avoided;
24                             or

25                       (2)   any immediate or mediate good faith transferee of such
                               transferee.
26
                  (c)    If a transfer made between 90 days and one year before the filing
27                       of the petition—
28                       (1)    is avoided under section 547(b) of this title; and


                                                                                                    5
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 1                      (2)    was made for the benefit of creditor that at the time of such
                               transfer was an insider;
 2
                  (d)   The trustee is entitled to only a single satisfaction under
 3                      subsection (a) of this section. (Emphasis added.)
 4
           21.    The Plaintiff/Trustee is informed and believes and thereon alleges that the
 5 Southwood Fontana Property Transfer described herein fall completely within all the elements

 6 of Section 550 of the Bankruptcy Code.

 7         WHEREFORE, Plaintiff/Trustee, Lynda T. Bui, prays for judgment against Defendant,

 8 Shemuyl Leon, individually and as Trustee of THE ARYSHEM LIVING TRUST under Sections

 9 544 and 550 of the Bankruptcy Code as follows:

10                                   ON THE FIRST CLAIM FOR RELIEF

11         1.      That Plaintiff/Trustee, Lynda T. Bui’s claims against Defendant Shemuyl Leon

12 and/or the ARYSHEM LIVING TRUST identified herein as the Southwood Fontana Property

13 Transfers be held to be fraudulent conveyances under Section 544 of the Bankruptcy Code.

14                              ON THE SECOND CLAIM FOR RELIEF

15         2.     That Plaintiff/Trustee, Lynda T. Bui’s claims against Defendants, Sheymuyl Leon

16 and/or The ARYSHEM LIVING TRUST identified herein as to the Southwood Fontana Property

17 Transfers to be avoided under Section 550 of the Bankruptcy Code. Further, pursuant to

18 Section 550(a) of the Bankruptcy Code, Plaintiff/Trustee is requesting relief be awarded in the

19 form of reconveyance of the Southwood Fontana Property, not including interest and/or fair

20 rental value from and after January 3, 2020 until recovery with interest is calculated under

21 applicable non-bankruptcy law.

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1                                ON ALL CLAIMS FOR RELIEF

2        3.     For pre-judgment interest from and after January 3, 2020 until recovery with

3 interest is calculated under applicable law on both the Southwood Fontana Property Transfer;

4 and

5        4.     For all further and other relief as the Court deems just and proper.

6

7 Dated: January 12, 2024                          POLIS & ASSOCIATES,
                                                   A PROFESSIONAL LAW CORPORATION
8

9                                            By:     /s/ Thomas J. Polis
                                                   Thomas J. Polis, Esq.
10
                                                   Proposed Counsel for Plaintiff,
11                                                 Lynda T. Bui, Chapter 7 Trustee

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                 EXHIBIT “A”
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                  EXHIBIT “B”
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                                                            0
                                                                          in Official Records
                                                                          County of San Bernardino
RECORDING REQUESTED BY                                                    Bob Dutton
                                                                          Assessor-Recorder-County Clerk
AND WHEN RECORDED MAIL DOCUMENT TO:
                                                                          DOC# 2020-0053515
NAME   ~Y\t:WlU'l l u:ct7                                    02/13/2020           Titles : 1   Pages: 3

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                                                                                  Total                   $20.00




                                                                          SPACE ABOVE FOR RECORDER'S USE ONLY




                                                    Title of Document




            THIS COVER SHEET ADDED TO PROVIDE ADEQUATE SPACE FOR RECORDING INFORMATION
                                  ($3.00 Additional Recording Fee Applies)
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                                                                  #2020-0053515      2 of 3
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RECORDING REQUESTED BY:

SHEMUYL LEON

WHEN RECORDED MAIL TO:

SHEMUYL LEON
14181 Southwood Dr.
Fontana, CA 92337

APN: 0236-491-14

                                                   (Space Above for Recorder's Use)

                                  TRUST TRANSFER DEED

THE UNDERSIGNED GRANTORS DECLARE DOCUMENTARY TRANSFER TAX IS $0.
This conveyance transfers an interest into or out of a Living Trust; R&T Code § 11930.

       SHEMUYL LEON, a single man,

hereby GRANT(S) his entire interest in and to

       SHEMUYL LEON as Trustee of THE ARYSHEM LIVING TRUST,

the following described real property in the City of Fontana, County of San Bernardino, State of
California:


    LOT 14 OF TRACT 12356, IN THE CITY OF FONTANA, COUNTY OF SAN
BERNARDINO, CALIFORNIA AS PER MAP RECORDED IN BOOK189, PAGE(S) 33
THROUGH 35, INCLUSIVE OF MISCELLANEOUS MAPS, IN THE OFFICE OF TIIE
COUNTY RECORDER OF SAID COUNTY.




       Commonly known as:14181 Southwood Dr. Fontana, CA 92337




Dated: February 5, 2020

                                                    SHEMUYL LEON
